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                   Exhibit D
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                                                                    Page 1

 1                                                                  VOL:     I
                                                               PAGES:   1-103
 2                                                          EXHIBITS:      None
 3                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
 4
                                                  C.A. No.:    3:22-cv-30059
 5
            * * * * * * * * * * * * * * * * * * * *
 6          LAUREN ROLLINS,                                   *
                                  Plaintiff                   *
 7                     -vs-                                   *
                                                              *
 8          R STREET INSTITUTE,                               *
                                  Defendant                   *
 9          * * * * * * * * * * * * * * * * * * * *
10
11                     ZOOM DEPOSITION of MADISON T. ROLLINS, a
12          witness called on behalf of the Defendant,
13          before Jean Wiseman, a Notary Public and Certified
14          Shorthand Reporter within and for the Commonwealth
15          of Massachusetts, at the residence of MADISON T.
16          ROLLINS, Northampton, Massachusetts, on Thursday,
17          July 13, 2023, commencing at 10:04 a.m.
18
19
20
21
22
23
24

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                                                                    Page 87

1                     anymore was terrifying.
2          Q          Did you ever have a conversation with your
3                     mother about seeking treatment for what you
4                     were observing as her emotional distress?
5          A          I did.     I asked her about it and I believe at
6                     first she said that that was not something
7                     that she was interested in.
8                              Between the two of us we've spent a
9                     pretty significant amount of time in our lives
10                    in therapy for some childhood trauma.             So
11                    I think that she felt:             Well, I've been there,
12                    done that before.         But eventually it was my
13                    understanding that she did seek treatment, but
14                    it wasn't until on a more recent scale.                I am
15                    aware that she's in therapy, but I'm not sure
16                    when that started, but at first she was pretty
17                    against it.
18         Q          You believe that your mother is currently
19                    receiving mental health treatment?
20         A          She is, yes.
21         Q          Do you know that for certain?
22         A          I do.     I Face Time her and she often tells me
23                    that she's not answering because she's in
24                    therapy.


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                                                                  Page 88

1          Q          Do you have an understanding of when that
2                     therapy began?
3          A          I do not.    It's at least been a few months,
4                     but I'm not exactly sure.
5          Q          Okay.    Has she indicated to you the purpose of
6                     that therapy?
7          A          Yes.    We talked about it, when I -- you know,
8                     truthfully, I was a little bit surprised that
9                     she had decided to go, and she had said to me
10                    that -- she was trying to convince me,
11                    actually, because she thinks it's very
12                    helpful.    It helps her work through anything,
13                    from childhood trauma to the breakup, to
14                    losing her job.       I think that it has
15                    definitely helped her outlook on things.
16         Q          So you recall your mother speaking about the
17                    value and benefit that she was deriving from
18                    therapy; is that right?
19         A          Yes, and that's -- she's been saying she's an
20                    advocate for therapy now, which she certainly
21                    wasn't before.
22         Q          And when you say before, she wasn't an
23                    advocate for therapy in the aftermath of her
24                    termination?


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                                                                Page 100

1                                    DEPOSITION ERRATA SHEET
2
3
4       Deposition of:          Madison T. Rollins
5       Case Caption:         Rollins vs. R Street Institute
6
7
8                      DECLARATION UNDER PENALTY OF PERJURY
9                       I declare under penalty of perjury
10      that I have read the entire transcript of
11      my Deposition taken in the captioned matter
12      or the same has been read to me, and
13      the same is true and accurate, save and
14      except for changes and/or corrections, if
15      any, as indicated by me on the DEPOSITION
16      ERRATA SHEET hereof, with the understanding
17      that I offer these changes as if still under
18      oath.
19                        Signed on the ______day of
20      _________________, 2023.
21
22      _______________________________________
23                              Witness name
24


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                                                                Page 101

1                              DEPOSITION ERRATA SHEET
2       Page No._____Line No.____Change to:_______________
3       __________________________________________________
4       Reason for change:________________________________
5       Page No._____Line No.____Change to:_______________
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22      Reason for change:________________________________
23      SIGNATURE__________________________DATE___________
24


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                                                                Page 102

1                              DEPOSITION ERRATA SHEET
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23      SIGNATURE__________________________DATE___________
24


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                                                                  Page 103

1                                        CERTIFICATE
2               Commonwealth of Massachusetts
3               Suffolk, ss.
4                     I, Jean Wiseman, Certified Shorthand
5               Reporter and Notary Public in and for the
6               State of Massachusetts, do hereby certify:
7                     That MADISON T. ROLLINS, the witness
8               whose deposition is hereinbefore set forth, was
9               duly sworn by me and that such statement is a
10              true record of the testimony given by the said
11              witness.
12                    IN WITNESS WHEREOF, I have hereunto set my
13              hand and seal this 21st day of July, 2023.
14                    My Commission expires 21 May, 2025.
15
16                                                     <%21497,Signature%>
17                                                          JEAN WISEMAN
18                          THE FOREGOING CERTIFICATION OF
19                          THIS TRANSCRIPT DOES NOT APPLY
20                          TO ANY REPRODUCTION OF THE SAME
21                          BY ANY MEANS UNLESS UNDER THE
22                          DIRECT CONTROL AND/OR DIRECTION
23                          OF THE CERTIFYING REPORTER.
24


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                Federal Rules of Civil Procedure

                                Rule 30



   (e) Review By the Witness; Changes.

   (1) Review; Statement of Changes. On request by the

   deponent or a party before the deposition is

   completed, the deponent must be allowed 30 days

   after being notified by the officer that the

   transcript or recording is available in which:

   (A) to review the transcript or recording; and

   (B) if there are changes in form or substance, to

   sign a statement listing the changes and the

   reasons for making them.

   (2) Changes Indicated in the Officer's Certificate.

   The officer must note in the certificate prescribed

   by Rule 30(f)(1) whether a review was requested

   and, if so, must attach any changes the deponent

   makes during the 30-day period.




   DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

   ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

   THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

   2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

   OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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    COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
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as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

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amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
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fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

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and independence regardless of relationship or the
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Associates indicated on the cover of this document or
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